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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  BRIGHT DATA LTD.,                               §
                                                  §
               Plaintiff,                         §
                                                  §
  v.                                              §
                                                  §    Case No. 2:19-cv-00396-JRG
  TESO LT, UAB, OXYSALES, UAB, and                §
  METACLUSTER LT, UAB                             §    Case No. 2:19-cv-00395-JRG
                                                  §
                                                  §
  CODE200, UAB ET AL.,                            §
                                                  §
               Defendants.                        §

                    SUPPLEMENTAL CLAIM CONSTRUCTION ORDER

        Before the Court are three motions regarding claim construction issues. The first motion is

 the Request for Clarification / Objections to Magistrate Judge Payne’s Claim Construction Order

 (“Clarification Request”) filed by Plaintiff Bright Data Ltd., formerly Luminati Networks Ltd.

 (“Plaintiff”) in Case No. 2:19-cv-00396-JRG (“Code200 Action”). Dkt. No. 102. Plaintiff’s

 Clarification Request seeks clarification and revision of the Claim Construction Order (Code200

 Action, Dkt. No. 97) as to two construed terms: (1) U.S. Patent No. 10,484,511 (the “’511 Patent”)

 claim 1 regarding “sending . . . the first content identifier to the web server using the selected IP

 address”; and (2) ‘511 Patent claim 25 regarding “source address.” Id. at 4–8.

        The second motion is the Motion for Hearing Regarding O2 Micro Issue (“Motion for

 Hearing”) filed by Defendants Code200, UAB, Oxysales, UAB, and Metacluster LT, UAB

 (collectively, “Code200 Defendants”) in the Code200 Action and by Defendants Teso LT, UAB,

 Oxysales, UAB, and Metacluster LT, UAB (collectively, “Teso Defendants”) (collectively,

 “Defendants”) in Case No. 2:19-cv-00395-JRG (“Teso Action”). Code200 Action, Dkt. No. 234;

 Teso Action, Dkt. No. 444. Defendants’ Motion for Hearing asserts that Plaintiff’s rebuttal
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 validity expert report takes a position as to the claim scope of “server” that requires the Court’s

 intervention and requests four alleged clarifications that revise the Court’s existing claim

 constructions for the terms “first server” and “second server” in certain patents. Id. at 1–2.

        On April 20, 2021, the Court granted an unopposed motion for leave to supplement briefing

 on Plaintiff’s Clarification Request. Code200 Action, Dkt. No. 143. Accordingly, Plaintiff’s

 Clarification Request briefing includes Code200 Defendants’ Response (Code200 Action, Dkt.

 No. 110), Plaintiff’s Reply (Code200 Action, Dkt. No. 163), and Defendants’ Sur-Reply (Code200

 Action, Dkt. No. 179).

        I.       “Source Address”

        During claim construction, Plaintiff proposed the term “source address” be construed to

 have its plain and ordinary meaning while Code200 Defendants sought a finding of indefiniteness.

 Code200 Action, Dkt. No. 97 at 23. The Court construed “source address” to mean “address of the

 web server.” Id. at 27. Plaintiff seeks to “clarify” that “source address” refers to “the IP address of

 the sender of a communication” and “not the IP address of the web server.” Code200 Action, Dkt.

 No. 102 at 6.

        Plaintiff argues, as it asserts it did at oral argument, that the plain meaning of “source

 address” to a POSA is the sender’s IP address. Id. at 4. Plaintiff notes that the specification never

 uses “source address” to refer to content and that “[r]ather, the two uses of ‘source’ cited in the

 Order (‘source program’ and ‘sources’ of content) are not used in the context of addresses.” Id. at

 4–5. Plaintiff then discusses the HTTP protocol and TCP/IP protocol, arguing that the “source

 address” is the address of the sender as opposed to the “destination address,” which Plaintiff asserts

 is the address of the web server. Id. at 5. Plaintiff continues, “[w]hile a web server sometimes is

 the source of a communication, it is never the source of the claimed step of ‘sending [a content



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 request] to the web server’ because in that situation the web server is the destination, not the

 source.” Id. at 6.

         Code200 Defendants respond that this is not a clarification request, but rather a request that

 the Court change the construction to the opposite of what it found so that “source” refers to the IP

 address of the “sender” of a communication rather than the IP address of the source of the content,

 i.e., the web server. Code200 Action, Dkt. No. 110 at 1. Code200 Defendants are correct.

         Code200 Defendants argue that Plaintiff asserts that it argued to the Court that “source

 address” must be “the sender’s IP address,” but that the Court’s Claim Construction Order

 demonstrated that Plaintiff argued at claim construction that “source address” has a “plain and

 ordinary meaning” and that “source address” refers to an “IP address associated with a source.”

 Id. at 2 (citing Dkt. No. 97 at 23). The Claim Construction Order identified Plaintiff’s proposed

 construction of “source address” as “plain and ordinary meaning,” and stated, “Plaintiff submits:

 The ‘source address’ refers to an ‘IP address associated with a source.’” Code200 Action, Dkt. No.

 97 at 23 (citing Code200 Action, Dkt. No. 86 at 26–27 (“In Dr. Rhyne’s opinion: ‘[A] POSA

 would understand the source address as referring to an IP address associated with a source . . .’”)

 (quoting Code200 Action, Dkt. No. 86-3)).

         With respect to Plaintiff’s note that the specification never uses “source address” to refer

 to content, Code200 Defendants respond that the phrase “source address” is never used in the

 patent written description. See Code200 Action, Dkt. No. 110 at 2. Code200 Defendants continue,

 arguing that Plaintiff’s argument regarding HTTP and TCP/IP misses that the specification does

 not ever point to HTTP or TCP/IP for a definition of “source address.” Id. Code200 Defendants

 argue that Plaintiff has no basis to contest the Court’s explanation as to why “source address” is

 limited to the address of the source of content. Code200 Action, Dkt. No. 110 at 3.



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          As Code200 Defendants pointed out, Plaintiff’s argument that the specification never uses

 “source address” to refer to content falls flat because the specification never uses the term “source

 address” at all. See Code200 Action, Dkt. No. 110 (citing Code200 Action, Dkt. No. 88 at 17

 (citing Code200 Action, Dkt. No. 88-1 at ¶¶ 78–84)); see also Code200 Action, Dkt. No. 86-1 at

 1–29. Accordingly, what must be understood is what a “source” is.

          The Court’s Claim Construction Order previously explained that the ’511 Patent’s

 specification “suggests that ‘source’ is used to refer to a content source rather than a

 communication source.” Code200 Action, Dkt. No. 97 at 25 (emphasis added). As the Court

 previously stated, “ultimately, when read in the context of the entire specification, including the

 complete claim set and the description of the invention, the scope of ‘source address’ is reasonably

 limited to the address of the source of content, which in Claim 1 is the web server.” Id. at 26 (citing

 Phillips v. AWH Corp., 415 F.3d 1303, 1316 (Fed. Cir. 2005); Trs. of Columbia Univ. v. Symantec

 Corp., 811 F.3d 1359, 1363 (Fed. Cir. 2016)) (emphasis added).

          Plaintiff requested additional briefing on their Clarification Request. That briefing pointed

 to Dr. Freedman’s December 31, 2020 1 declaration in which Dr. Freeman opined that a POSA

 would not understand what “source address” means in the context of claim 25 of the ’511 Patent

 but then testified in his March 22, 2021 deposition that “source address” is a term of art that refers

 to the “sender address” rather than a “destination address.” Code200 Action, Dkt. No. 163 at 2–4.

 Plaintiff argues “[t]he above conflicting testimony is material to the Court’s Claim Construction

 Order as the Court cited Code200 Defendants’ argument that the ‘source address’ could refer to

 the ‘source of content’ . . . .” Id. at 4 (citing Code200 Action, Dkt. No. 97 at 24–27).




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  Plaintiffs state that “[h]ere, Dr. Freedman provided a December 31, 2021 declaration . . . .” Dkt. No. 163 at 2. The
 Court interprets this as a typographic error for December 31, 2020.

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        Code200 Defendants respond that while Plaintiff quotes Dr. Freedman’s opinion in

 paragraphs 80-81 that “source address” could refer to the source of content, Plaintiff omits

 paragraph 82, where “Dr. Freedman opined that ‘source address’ could alternatively refer to the

 source of the request (i.e., sender) rather than the source of content.” Code200 Action, Dkt. No.

 179 at 3 (citations omitted). Paragraph 82 of Dr. Freedman’s declaration indeed provides,

 “[a]lternatively, the patentees could be using ‘source’ to refer to the source of the content request

 that is sent to the web server . . . .” Code200 Action, Dkt. No. 163-2 at ¶ 82.

        This is additional evidence that “source address” may be used in the art to denote a sending

 address. However, that the source address may be a sending address was never in dispute, and the

 new evidence does not restrict “source address” to sending address in the art such that it could

 mean only sending address in the patent. Ultimately, Plaintiff provides no new information and

 merely rehashes arguments already resolved and explained by the Claim Construction Order.

 Accordingly, the Court denies Plaintiff’s request to revise the construction of “source address.”

        As the Court previously found, “ultimately, when read in the context of the entire

 specification, including the complete claim set and the description of the invention, the scope of

 ‘source address’ is reasonably limited to the address of the source of content, which in Claim 1 is

 the web server.” Id. at 26 (internal citations omitted). The Court retains its previous construction

 that “source address” means “address of the web server.” See Code200 Action, Dkt. No. 97 at 27.

        II.     “Sending . . .”

        Plaintiff seeks clarification and revision of the construction of the ’511 Patent claim 1 term

 “sending . . . the first content identifier to the web server using the selected IP address.” Code200

 Action, Dkt. No. 102 at 6. The Court construed this term to mean “sending . . . the first content




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 identifier to the web server using the selected IP address as either the address of the first server or

 of the web server.” Code200 Action, Dkt. No. 97 at 19.

        Plaintiff asserts two problems with this construction: (1) the phrase “or of the web server”

 should be deleted because the “source address” would never be the web server because the

 communication is sent “to the web server” and (2) the Order appears to inadvertently omit

 intermediaries from IP addresses that can be used for sending. Code200 Action, Dkt. No. 102 at

 7. Plaintiff’s objection “requests that the Court clarify that the construction does not exclude

 intermediaries such as the ‘client device’ of claims 2–5.” Id. at 8.

        With respect to Plaintiff’s argument that the phrase “or of the web server” should be deleted

 because the “source address” would never be the web server, neither the claims nor the description

 of the invention exclude the address of the “web server” as the selected IP address. As Code200

 Defendants note, Plaintiff points to the “incorrect construction” of “source address” as allegedly

 causing the Court to insert “or of the web server” in the construction. See Code200 Action, Dkt.

 No. 110 at 4; see also Code200 Action, Dkt. No. 102 at 7. Plaintiff’s argument carries over error

 from its rejected “source address” argument. Because the “source address” is the address of the

 web server, then the “selected IP address” of claim 1 may be used as the address of the web server.

        The Court’s construction is specific to ’511 Patent claim 1. While the Court did state, “the

 role played by the IP address used in the sending step, read in light of the entire specification, is

 reasonably limited to using the IP address as a sending address or a receiving address (including

 intermediaries),” the Court’s statement read the claim in light of the entire specification. See

 Code200 Action, Dkt. No. 97 at 17–19. After making this statement, the Court recited Claims 1

 through 4 and 25 of the ’511 Patent and stated, “Claims 2 through 5 are directed to using a client

 device as an intermediary between the first server and the web server.” Id. at 18. The Court



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 continued, “In contrast, Claim 25 uses the selected IP address as an address of a “source” rather

 than of an intermediary.” Id.

         The Court did not “inadvertently omit intermediaries from IP addresses that can be used

 for sending” as Plaintiff’s Clarification Request suggests. See Code200 Action, Dkt. No. 102 at 7.

 The Court purposefully did not include the language “including intermediaries” because although

 ’511 Patent Claims 2–5 are directed to using a client device as an intermediary, Claim 1 and Claim

 25 are not, and in fact Claim 25 uses the selected IP address as an address of a “source” rather than

 of an intermediary. See Code200 Action, Dkt. No. 97 at 17–18.

         The Court clarifies that the Court’s construction does not exclude intermediaries

 specifically with respect to ’511 Patent Claims 2–5. Unlike ’511 Patent Claims 1 and 25, “Claims

 2 through 5 are directed to using a client device as an intermediary between the first server and the

 web server.” See Id. at 18. However, in light of Plaintiff’s Clarification Request and in the interest

 of avoiding jury confusion, the Court amends the construction of “sending . . . the first content

 identifier to the web server using the selected IP address” to “sending . . . the first content identifier

 to the web server using the selected IP address as either a sending address or a receiving address.”

 The Court emphasizes that this amendment does not change the scope of the term in any way, but

 merely seeks to avoid jury confusion.

         III.    “Server” Terms 2

         Defendants’ Motion for Hearing requests a “clarification” of the Court’s constructions of

 “first server” and “second server” and a hearing to address this issue in advance of pretrial




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   Citations in this section are to the Code200 Action unless identified otherwise. The motions in
 the Code200 Action and Teso Action are nearly identical except the Teso Action also urges
 resolution of another motion. That motion will not be addressed in this order.
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 conferences. Dkt. No. 234 at 1–2. The table below indicates the terms at issue, the relevant patents

 for those terms, their current constructions, and the requested “clarifications:”

  Term                 Construction                    Requested Clarification
  “first server”       “server that is not the client “a device that is operating in the role of
  ’614 Patent          device”                         a server by offering information
  Teso                                                 resources, services, and/or applications
                                                       and that is not the client device”
  “first server”       “server that is not the client “a device that is operating in the role of
  ’511 Patent          device or the web server”       a server and that is not the first client
  Code200                                              device or the web server”
  “second server”      “server that is not the client “a device that is operating in the role of
  ’319/510 Patents     device”                         a server and that is not the first client
  Teso                                                 device”
  “second server”      “server that is not the client “a device that is operating in the role of
  ’968 Patent          device or the first web server” a server and that is not the requesting
  Code200                                              client device or the first web server”

         Defendants’ Motion for Hearing merely states that “it became apparent for the first time

 based on Bright Data’s rebuttal validity expert report that Bright Data takes a position as to the

 claim scope of “server” that requires the Court’s intervention to resolve the parties’ dispute

 pursuant to O2 Micro . . . .” Id. at 1.

         Plaintiff argues that “while framed as a Motion for Hearing Regarding O2 Micro Issue

 (‘Motion’), Defendants are clearly and improperly requesting new claim constructions on the eve

 of trial that were already rejected or waived during claim construction.” Dkt. No. 242 at 4.

 Plaintiffs note that Defendants did not make these objections in their December 22, 2020

 Objections to the Court’s Claim Construction Order in Bright Data Ltd. v. Teso lt UAB et al., 2:19-

 cv-00395-JRG (“Teso Action”) or in their February 22, 2021 Objections to this Court’s Claim

 Construction Order in the Code200 Action. Code200, Dkt. No. 242 at 4 (citing Teso Action, Dkt.

 No. 200; Code200 Action, Dkt. No. 103).

         Plaintiff contends that Defendants are seeking broad constructions that treat client devices

 and servers interchangeably in contradiction of Defendants’ denial that they were making such an

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 argument as noted by the Court in its construction of “client device” for the ’614 Patent. Id. (citing

 Teso Action, Dkt. No. 191 at 15 (“[Defendants] deny that they will claim client devices and servers

 are interchangeable general use computers.”).

        Plaintiff filed their response on July 6, 2021. Defendants’ reply deadline was July 13, 2021.

 Defendants did not file a reply.

        The Court’s Claim Construction Order in the Code200 Action stated, “[t]he issue in dispute

 appears to be whether one component can simultaneously serve as more than one of: the client

 device, the first server/second server, and the web server. It cannot.” Dkt. No. 97 at 13. The Court

 found the recited operation of the claims suggests a distinction among these components and that

 claim 1 of the ’511 Patent “plainly is directed to a ‘first server’ acting as an intermediary between

 the ‘client device’ and ‘second server.’” Id. at 15. Defendants’ requested clarifications for the

 Code200 Action server terms do not challenge this but rather ask the Court to define the “server”

 in these terms as “a device that is operating in the role of a server” and replace “the client device”

 with “the requesting client device.” Dkt. No. 234 at 2. Defendants’ requested clarifications for the

 Teso Action “second server” term likewise asks the Court to define the “server” as “a device that

 is operating in the role of a server” and replace “the client device” with “the first client device.”

 Id. Finally, Defendants’ requested clarifications for the Teso Action “first server” asks the Court

 to define the “server” as “a device that is operating in the role of a server by offering information

 resources, services, and/or applications.” Id.

        Plaintiff points to the Court’s construction of “client device” for the ’614 Patent as

 accepting Defendants’ denial that they will claim client devices and servers are interchangeable

 general use computers. Dkt. No. 242 at 4 (citing Teso Action, Dkt. No. 191 at 15). With respect to




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 this same “client device” term, the Court’s Claim Construction Order “reiterates and adopts the

 reasoning and ruling of that order.” Dkt. No. 97 at 13 (citing Teso Action, Dkt. No. 191 at 10–12).

         The language “a device that is operating in the role of” is language Defendants urged in

 the construction of “client device” in the Teso Action, language originating in the construction

 previously adopted by the Court in another case. Teso Action, Dkt. No. 191 at 11 (citing Dkt. No.

 138 at 5–6; Id. at 6 n.4). The Court’s Claim Construction Order in the Teso Action states that

 “[Plaintiff’s] second argument—that a client device is specifically not a server—is not supported

 by the specification.” Id. The Court found “[t]he patents do not include servers as a type of

 ‘communication device,’ but that is not sufficient to construe ‘client device’ as unable to act as a

 server in all cases.” Id. at 12.

         Plaintiff’s argument that Defendant seeks to treat client devices and servers

 interchangeably, citing to the Court’s statement that “[Defendants] deny that they will claim client

 devices and servers are interchangeable general user computers” is an oversimplification of the

 issue. It is not that Defendants seek to “reduc[e] the recited server ↔ client device ↔ web server

 architecture . . . and the recited client device ↔ server ↔ web server architecture . . . as an

 indistinguishable computer ↔ computer ↔ computer architecture” as Plaintiffs argue. See Dkt.

 No. 242 at 4. Rather, a component can be configured to operate in different roles—so long as it

 does not “simultaneously serve as more than one of: the client device, the first server/second

 server, and the web server.” See Dkt. No. 97 at 13.

         The Court’s Claim Construction Order in the Code200 Action stated, “[t]he issue in dispute

 appears to be whether one component can simultaneously serve as more than one of: the client

 device, the first server/second server, and the web server. It cannot.” Dkt. No. 97 at 13. Consistent

 with this, the Court construed in the Teso Action “client device” in the ’614 Patent as “device



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 operating in the role of a client by requesting services, functionalities, or resources from the

 server.” Teso Action, Dkt. No. 191 at 15.

        The Court’s Claim Construction Order in the Teso Action discussed this issue in detail with

 respect to whether the second server must be a distinct device from the client device and the web

 server. Teso Action, Dkt. No. 191 at 13–14. The Court stated that “[n]othing in the intrinsic record

 suggests one device cannot perform both the role of a web server and a second server. To construe

 the claim in such a way would improperly import a limitation into the claim language.” Id. at 14.

        Defendants’ Motion for Hearing requests clarifications for the server terms but presents

 them as new constructions. The Court finds that the clarifications Defendants seek are not

 inconsistent with the Court’s previous findings about the nature of the client device, web server,

 first server and second server. Said previous findings have already been stated with respect to the

 constructions as they stand. Accordingly, the Court clarifies that Defendants’ understanding of the

 scope of the constructions, as represented by the requested clarifications in Defendants’ Motion

 for Hearing, is correct. The Court is not changing the construction of “first server” and “second

 server,” as this understanding is already embedded in those terms’ construction. Further, the Court

 is not now changing the scope of the terms in any way, but merely providing a clarification of the

 scope of the terms as they stand.

        IV.     CONCLUSION

        The Court DENIES Plaintiffs’ request to modify the Claim Construction Order with

 respect to “source address” and GRANTS Plaintiffs’ request to modify the Claim Construction

 Order with respect to “sending . . . the first content identifier to the web server using the selected

 IP address,” which the Court now clarifies means “sending . . . the first content identifier to the




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 web server using the selected IP address as either a sending address or a receiving address.” The

 Court also clarifies the scope of the “first server” and “second server” terms as discussed above.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 6th day of August, 2021.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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